                        IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                       CRIMINAL MINUTES:        JURY TRIAL - DAY 1

                            USA vs SEAN CHRISTOPHER WILLIAMS

                                   Date:      07/23/24

                                   Case No.     CR-2-21-27

                          Time     10:45 a.m. To          1:20 p.m.
                          Time     2:30 p.m. To           5:10 p.m.

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          Honorable J. RONNIE GREER, U. S. District Judge, Presiding

 Kathy Hopson             Karen Bradley         Meghan Gomez/Greg Bowman
Deputy Clerk             Court Reporter           Asst. U.S. Attorney
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     DEFENDANT(S)                            ATTORNEY FOR DEFENDANT
   SEAN CHRISTOPHER WILLIAMS              PRO SE (ILYA BERENSHTEYN – ELBOW)

Jurors Present 104         Seated     16      Challenged      36     NSSC 52

1. #1     2. #4    3. #176       4. #168     5. #11      6.   #118     7. #78   8. #63

9. #105    10. #31    11. #9       12. #25     13. #88     14. #152 14. #110 14. #158


Rule requested

Opening Statements made

Introduction of evidence for Government - Begun


Jury trial is continued until July 24, 2024 @ 9:00 a.m.




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